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              IN THE UNITED STATES DISTRICT COURT FOR THE
             NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION


  Prinzo & Associates, LLC, on behalf of itself and
  all others similarly situated,
                                                      Case No. 1:20-cv-3256
          Plaintiff,
   v.

  BMO Harris Bank N.A.; BMO Financial Corp., a        Hon. Gary S. Feinerman
  Delaware corporation; and Does 1-100, inclusive,

          Defendants.



                  DEFENDANTS BMO HARRIS BANK N.A. AND
                   BMO FINANCIAL CORP.’S MEMORANDUM
                  IN SUPPORT OF THEIR MOTION TO DISMISS




August 14, 2020                            BMO Harris Bank N.A.
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                             I.    SUMMARY OF ARGUMENT
       In Plaintiff’s haste to join the stampede of 30+ similar class action lawsuits, it failed to

include the fundamental allegations (i) establishing standing and/or (ii) stating a claim for

relief. In a bare-bones complaint, Plaintiff seeks “agent fees” for allegedly assisting an

unnamed small business in applying for a Paycheck Protection Program (“PPP”) loan

administered by the Small Business Administration (“SBA”). Plaintiff’s claims fail because:

(i) there is no private right of action under the PPP (or its implementing legislation/

regulations); and (ii) Plaintiff has not satisfied the SBA’s or even Plaintiff’s own requirements

for payment.

       As shown below, SBA regulations require an agent, like Plaintiff, to provide to SBA a

compensation agreement signed by the lender, agent, and applicant before it may receive a

fee. Plaintiff does not (and cannot) allege it had or even attempted to enter into such an

agreement with BMO Harris. Indeed, Plaintiff agrees that it is only entitled to fees after it

“submits the request for fee payment to the lender with the agent’s fee based upon [] the

work performed for the client,” (Compl. ¶34) but Plaintiff does not (and cannot) allege he

submitted such a request either. Consequently, Plaintiff does not allege an injury in fact,

much less that its claims are ripe for adjudication and therefore this Court lacks subject

matter jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1).

       Additionally, Plaintiff fails to state a claim for relief under Fed. R. Civ. P. 12(b)(6) for

multiple reasons, including that each of Plaintiff’s state law claims (Counts I – IV) fail as an

impermissible attempt to create a private right of action where none exists.




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       Plaintiff’s claim for declaratory relief (Count I) fails because Plaintiff has no private

right of action under the federal laws and regulations identified in its complaint. Plaintiff‘s

breach of contract, third party beneficiary claim (Count II) fails because Plaintiff was not a

direct beneficiary of the agreement between BMO Harris and the SBA.

       Plaintiff’s Illinois Consumer Fraud And Deceptive Business Practices Act (ICFA)

claim (Count III) fails because Plaintiff: (i) lacks standing under ICFA as a non-resident

business; (ii) does not assert any deceptive acts, much less with the required specificity; and

(iii) does not allege any “unfair” conduct—there is nothing improper about BMO Harris’s

compliance with SBA regulations.

       Plaintiff’s unjust enrichment claim (Count IV) is dead on arrival because: (i) the other

claims it is dependent on failed; and (ii) Plaintiff alleges that BMO Harris unjustly retained a

benefit that Plaintiff is not entitled to receive. Plaintiff’s conversion claim (Count V) faulters

because Plaintiff does not (and cannot) allege a proper demand for payment.

                                   II.    BACKGROUND
a. CARES ACT CREATES NEW 7(A) LOAN PROGRAM
       Paycheck Protection Program (“PPP”), established under the Coronavirus Aid, Relief,

and Economic Security Act (the “CARES Act”), Pub. L. 116- 136, provides emergency loans

to small businesses to be administered by the SBA “under the same terms, conditions, and

processes as a loan made under” the agency’s established Section 7(a) loan program, except

where Congress “otherwise provided.” 15 U.S.C. § 636(a)(36)(B). See also 85 Fed. Reg. 20,812

(describing the PPP as a “new 7(a) loan program”).

        The SBA does not mandate the use of agents by either small businesses or lenders in




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the submission of Section 7(a) loan applications. See 13 C.F.R. § 103.2(a). If either party elects

to use an agent, the Small Business Act and Part 103 of the SBA’s regulations establish the

protocol that agents must follow when “[p]reparing or submitting on behalf of an applicant

an application for financial assistance of any kind” from the SBA. 13 C.F.R. § 103.1(b)(1).

        To ensure compliance with this provision, the SBA requires that an agent “must

execute and provide to SBA a compensation agreement,” which “governs the compensation

charged for services rendered or to be rendered to the Applicant or lender in any matter

involving SBA assistance.” 13 C.F.R. § 103.5(a). The “SBA provides the form of

compensation agreement . . . to be used by Agents.” Id. For Section 7(a) loans, agents must

use the SBA’s Form 159 Fee Disclosure and Compensation Agreement (“Fee Agreement”).

See Fee Disclosure and Compensation Agreement located at https://www.sba.gov/

document/sba-form-159-fee-disclosure-compensation-agreement (last visited August 10,

2020), attached as Exhibit A. The SBA requires that the Fee Agreement “must be completed

and signed by the SBA Lender and Applicant whenever an Agent is paid by either the

Applicant or the SBA Lender in connection with the SBA loan application.” Id. at 1. The SBA

requires that the Fee Agreement “must indicate that both parties agree … that the services

to be provided are accurately described, and that the agreement is otherwise consistent with

SBA requirements.” 13 C.F.R. § 103.5(c).

       In addition to establishing fees, the Fee Agreement serves the SBA’s goal of reducing

fraud by agents and assists lenders in monitoring agents. Under the Fee Agreement, Lenders

are required to ensure “that the Agent performing services is not debarred, suspended,

proposed for debarment, declared ineligible, or voluntarily excluded from participation in




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this transaction by any Federal department or Agency.” Fee Agreement at 1. The

requirement that the agent enter into a contract as a prerequisite to payment is designed to

help “to mitigate the risk associated with loan agent participation, and to protect program

participants and taxpayers from fraud and abuse.” 1

b. AGENT FEES NOT MANDATED IN CARES ACT
         Because the PPP loan program is merely a “new 7(a) loan program,” 85 Fed. Reg.

 20,812, the SBA is directed to follow the requirements of that statute unless altered by the

 CARES Act. 15 U.S.C. § 636(a)(36)(B ). The CARES Act does not mandate the payment of

 agent fees. Instead, the Act provides that the SBA “shall reimburse” lenders for the cost of

 making loans by paying loan processing fees based on the amounts of the loans. 15 U.S.C.§

 636(a)(36)(P)(i). The CARES Act addresses agent fees only once, but merely to establish

 lower “Fee Limits” than those permissible for other Section 7(a) loans. Id. § 636(a)(36)(P)(ii)

 (agents “may not collect a fee in excess of the limits established by the [SBA].”) The CARES

 Act does not otherwise alter the SBA’s existing scheme for regulating agents and their

 compensation.

        In the SBA’s First Interim Final Rule (“IFR”) on PPP, 85 Fed. Reg. 20,811 (Apr. 15,

 2020), the SBA set limits on the “total amount that an agent may collect” for “assistance in

 preparing an application for a PPP loan.” Id. at 20,816. The IFR states that agent fees, to the

 extent they are paid at all, will be paid out of the fees received by the lender from the SBA

 after funding. Id. Like the CARES Act, the IFR does not require lenders to pay fees to any

1 SBA, Office of Inspector General, September 25, 2015, at https://www.sba.gov/ sites/

default/files/oig/Report_15-16_SBA_Needs_to_Improve_Its_ Oversight_ of_ Loan_Agents.pdf (last
visited on August 11, 2020).In the 2015 report, the Office of the Inspector General of the Small Business
Administration (“OIG”) also explained, “that the primary responsibility for monitoring loan agents rests
with the lenders.” “SBA Needs to Improve its Oversight of Loan Agents.”




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 person who claims to be an agent of a borrower. Nor does the IFR otherwise modify the

 SBA’s preexisting regulations in Part 103 governing agent fees.

        After the IFR was published, the Association of International Certified Public

 Accountants (“AICPA”) warned CPAs, like Plaintiff, that “there is a possibility that you will

 not be paid for your services” assisting borrowers with PPP applications. See

 https://www.mncpa.org/mncpa/media/Documents-Shared/legislative/CPEA-special-

 report-sba-ppp-loans.pdf (last visited August 10, 2020), attached as Exhibit B. The AICPA

 also advised agents to “discuss this issue with clients and the banks to ensure there is an

 understanding, preferably in writing, as to how and when any fees will be paid.” Id.

c. ABSENCE OF CONTRACT OR DEMAND IN PLAINTIFF’S ALLEGATIONS
        Plaintiff does not allege that it entered into any agreement (or even any

 understanding) with BMO Harris to pay an agent fee for the alleged work, nor does Plaintiff

 even allege that it attempted to do so. Indeed, Plaintiff does not even allege that it informed

 BMO Harris, or that BMO Harris was somehow otherwise aware, that Plaintiff acted as an

 authorized agent for a PPP loan application.

       Plaintiff alleges that, to be eligible to receive an agent fee, the agent must submit a

“request for fee payment to the lender with the agent’s fee based upon [] the work performed

for the client.” (Compl. ¶34.) Plaintiff, however, does not allege that it made such a request.

                                    III.   ARGUMENT
a. PLAINTIFF LACKS STANDING BECAUSE HE HAS NOT SUFFERED AN INJURY IN
   FACT, WHICH FAILURE DEPRIVES THIS COURT OF SUBJECT MATTER JURISDICTION
       Since federal courts may only act on actual cases or controversies, every plaintiff must

establish the “irreducible constitutional minimum of standing,” consisting of (1) an injury-in-




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fact, (2) causation of that injury by the defendant's alleged conduct, and (3) redressability of

that injury by the relief requested of the court. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-

61 (1992). An injury-in-fact is “an invasion of a legally protected interest which is “concrete

and particularized,” and “actual or imminent, not conjectural or hypothetical.” Id. at

560. “The party invoking federal jurisdiction bears the burden of establishing

standing.” Id. at 561. A plaintiff is also barred, under the ripeness doctrine, “from asserting

an injury that depends on so many future events that a judicial opinion would be advice

about remote contingencies.” Rock Energy Co-op. v. Vill. of Rockton, 614 F.3d 745, 748 (7th Cir.

2010).

         To be entitled to any fees, Plaintiff must follow the requirements set forth by the SBA.

13 C.F.R. § 103.5. Plaintiff, however, does not (and cannot) make any allegations confirming

its compliance with the SBA’s requirements, including the execution of a written

compensation agreement between the Plaintiff and BMO Harris. Absent such an agreement,

Plaintiff is not eligible for any fees. See SGA Fin. Corp. v. U.S. Small Bus. Admin., 509 F. Supp.

392, 394–95 (D.N.J.), aff'd, 673 F.2d 1301 (3d Cir. 1981) (“The SBA requires all agents who

assist applicants in the application process to sign an agreement (‘SBA Form 159’) not to

charge fees for services in excess of what SBA deems to be reasonable and to refund any

amounts paid in excess of this figure.”)

         Further, Plaintiff admits that agents are not eligible for fees until, at a minimum, “the

agent submits the request for fee payment to the lender with the agent’s fee based upon . . .

the work performed.” (Compl. ¶ 34.) Plaintiff, however, does not allege that it requested an

agent fee or that the request was denied.     It is a “general rule that a plaintiff who does not




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apply for or request some benefit or action lacks standing to challenge the procedures or

standards governing such applications or requests.” Baer-Stefanov v. White, 773 F. Supp. 2d

755, 759-60 (N.D. Ill. 2011) (citing Moose Lodge No. 107 v. Irvis, 407 U.S. 163, 166-67 (1972);

Oriental Health Spa v. City of Fort Wayne, 864 F.2d 486, 488-89 (7th Cir. 1988)).

       Plaintiff’s claims are not ripe and should be dismissed because any alleged harm rests

upon contingent future events—compliance with the SBA requirements and demanding

payment— that may not occur as anticipated, or that may not occur at all. Citizens for

Appropriate Rural Rds. v. Foxx, 815 F.3d 1068, 1079 (7th Cir. 2016). BMO Harris respectfully

requests that the Court dismiss the Complaint in its entirety under Rule 12(b)(1).

b. PLAINTIFF FAILS TO STATE A CLAIM FOR RELIEF
       The Complaint also fails under Rule 12(b)(6) and should be dismissed for failure to

state a claim. A complaint “must contain ‘enough facts to state a claim to relief that is

plausible on its face’ and also must state sufficient facts to raise a plaintiff's right to relief

above the speculative level.” Bissessur v. Ind. Univ. Bd. of Trs., 581 F.3d 599, 602 (7th Cir.2009)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

    i. PLAINTIFF’S CLAIM FOR DECLARATORY RELIEF (COUNT I) FAILS BECAUSE
       THERE IS NO PRIVATE RIGHT OF ACTION UNDER THE SBA OR CARES ACTS
       Count I fails there is no private right of action under either the Small Business or

CARES Acts. The Declaratory Judgment Act is not an independent source of federal

jurisdiction. Schilling v. Rogers, 363 U.S. 666, 677 (1960). The availability of declaratory relief

“presupposes the existence of a judicially remediable right.” Id. “Where, as here, there is no

private right of action available for an alleged statutory violation, a declaratory judgment

claim cannot proceed.” Villasenor v. Am. Signature, Inc., No. 06 C 5493, 2007 WL 2025739, at *6




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(N.D. Ill. July 9, 2007).

        Congress did not create a private right of action under either the Small Business Act

or CARES Act. See, e.g., Crandal v. Ball, Ball & Brosamer, Inc., 99 F.3d 907, 909 (9th Cir. 1996)

(“Other circuits that have considered the question have unanimously agreed that the Small

Business Act does not create a private right of action in individuals.”) (collecting cases from

other circuits); Profiles, Inc. v. Bank of Am. Corp., 2020 WL 1849710, at *4-7 (D. Md. Apr. 13,

2020) (in the only published decision to consider the issue to date, holding that the CARES

Act does not include an express or implied private right of action).

   ii. THE LACK OF A PRIVATE RIGHT OF ACTION DEFEATS STATE-LAW CLAIMS
        Plaintiff’s state law claims based on alleged violations of the CARES Act/SBA

regulations do not save its complaint. When a plaintiff’s suit is “in essence a suit to enforce”

a federal statute lacking a private right of action, it is “incompatible with the statutory

regime” to allow common-law claims predicated on alleged violations of that federal

standard. Astra USA, Inc. v. Santa Clara County, 563 U.S. 110, 118 (2011). Because the

Plaintiff’s state law claims seek only to enforce provisions of the CARES Act and the Small

Business Act—where there is no private right of action, the Plaintiff’s state law claims fail.

        In Astra, the Supreme Court held that parties covered by federal legislation could not

sue as third-party beneficiaries of contracts between the government and another party

because Congress did not create a private right of action under the legislation. Id. at 1345.

        The Plaintiff’s ICFA, unjust enrichment and conversion claims similarly fail because

they are predicated on BMO Harris’s alleged violations of the CARES and Small Business

Acts governing the payment of agent fees. Compl. ¶¶73-75, 82, 86-90. See York v. Wellmark,




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Inc., No. 416CV00627RGECFB, 2017 WL 11261026, at *20 (S.D. Iowa Sept. 6, 2017), aff'd, 965

F.3d 633 (8th Cir. 2020) (affirming dismissal of unjust enrichment claims that arise wholly

from the alleged failure to comply with a federal statute that, like here, provides no private

right of action). Mankodi v. Trump Marina Assocs. LLC, 525 Fed.Appx. 161, 166 (3d Cir. 2013)

(affirming dismissal of plaintiff’s causes of action for breach of contract and conversion

because they were based on alleged violations of the Casino Control Act, which provides no

private right of action.) The Complaint should be dismissed with prejudice for these reasons

alone.

  iii. PLAINTIFF’S STATE-LAW CLAIMS ALSO FAIL IN SUBSTANCE
         1. PLAINTIFF’S BREACH OF CONTRACT THIRD PARTY BENEFICIARY CLAIM (COUNT II)
            FAILS BECAUSE PLAINTIFF WAS NOT A DIRECT BENEFICIARY
         Count II, for breach of contract under a third-party beneficiary theory, fails for the

additional reason that Plaintiff fails to plead the required elements for such a claim. Courts

have established that, when a government contract incorporates statutory obligations and

fails to demonstrate a clear intent to allow third-party enforcement, individuals who benefit

from the contract are mere incidental beneficiaries and cannot sue under the agreement.

Astra, 563 U.S. at 118-19. (2011).

         To overcome the presumption of being an incidental beneficiary, a plaintiff must

establish that the contract demonstrates a “clear intent” to confer direct beneficiary status on

the plaintiff. Vought v. Bank of Am., NA, No. 10-2052, 2011 WL 13248532, at *3 (C.D. Ill. Apr.

6, 2011). “The question is not whether the contracts would benefit the [plaintiff], but whether

the parties intended to confer an actionable right on the [plaintiff].” D'Amato v. Wisconsin Gas

Co., 760 F.2d 1474, 1479 (7th Cir. 1985). “To satisfy this requirement, the “implication that the




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contract applies to third parties must be so strong as to be practically an express declaration.”

Cohn v. Guaranteed Rate Inc., 130 F. Supp. 3d 1198, 1207 (N.D. Ill. 2015) (quoting Ball Corp. v.

Bohlin Bldg. Corp., 187 Ill.App.3d 175, 134 Ill.Dec. 823, 543 N.E.2d 106, 107 (1989)).

       Plaintiff alleges that the contract to which it is a third party beneficiary is the “CARES

Act Section 1102 Lender Agreement” (the “Lender Agreement”) between BMO Harris and

the SBA. Attached as Exhibit C. See Compl. ¶¶66-69. Plaintiff does not (and cannot) point to

any language in the Lender Agreement that demonstrates a clear intent to permit agents to

enforce the Lender Agreement. Indeed, the word “agent” does not appear in the Lender

Agreement, and there is simply nothing remotely like an “express declaration” concerning

agents or agent fees. Accordingly, Count II fails for this additional reason.

       2. PLAINTIFF’S ICFA CLAIM FAILS (COUNT III) BECAUSE THE NON-RESIDENT
          PLAINTIFF LACKS THE REQUISITE CONSUMER NEXUS, AND OTHERWISE FAILS TO
          PLEAD ANY DECEPTIVE OR UNFAIR ACTS
       Plaintiff, a business located in Pennsylvania, lacks standing to bring an ICFA claim

for two reasons. First, because the Plaintiff is a business, Plaintiff must allege enough facts to

satisfy the “consumer nexus test.” Vulcan Golf, L.L.C. v. Google Inc., 552 F.Supp.2d 752, 777

(N.D.Ill. 2008). Under this test, “[w]hena dispute under [ICFA regarding unfair practices]

involves two businesses that are not consumers of each other's products, there must be some

showing that the alleged conduct ‘involves trade practices addressed to the market generally

or otherwise implicates consumer protection concerns.’” AGFA Corp. v. Wagner Printing Co.,

2002 WL 1559663, at *1–2 (N.D. Ill. July 10, 2002) (quoting Lefebvre Intergraphics, Inc. v. Sanden

Machine Limited, 946 F.Supp. 1358, 1368 (N.D.Ill.1996)) Here, Plaintiff has not alleged a single

fact to satisfy this test. Instead, Plaintiff relies on one conclusory statement that “Defendant’s




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conduct implicates consumer protection concerns generally.” Compl. ¶ 77. This conclusory

allegation is not enough. Rather, to establish “consumer protection concerns,” a plaintiff

“must plead and otherwise prove: (1) that [its] actions were akin to a consumer's actions to

establish a link between [it] and consumers; (2) how defendant's representations ... concerned

consumers other than [plaintiff]; (3) how defendant's particular breach of [contract] involved

consumer protection concerns; and (4) how the requested relief would serve the interests of

consumers.” Am. Roller Co., LLC v. Foster-Adams Leasing, LLP, 472 F. Supp. 2d 1019, 1023

(N.D. Ill. 2007). Plaintiff’s complaint is devoid of any allegations to support these

requirements and should be dismissed.

       Second, ICFA does not apply to non-residents unless Plaintiff alleges that the “the

circumstances of the disputed transaction occurred ‘primarily and substantially’ in Illinois.”

Haught v. Motorola Mobility, Inc., No. 12 C 2515, 2012 WL 3643831, at *3 (N.D. Ill. Aug. 23,

2012) (citing Avery v. State Farm Mut. Auto. Ins. Co., 216 Ill.2d 100 (Ill.2005)). Plaintiff alleges

that BMO Harris is headquartered in Illinois (Compl. ¶13), but that is not enough. See

Crichton v. Golden Rule Ins. Co., 576 F.3d 392, 396 (7th Cir.2009) (the location of the defendant's

business in Illinois is not dispositive of a nonresident claimant's standing to sue under the

ICFA). Given the dearth of any allegations to suggest that the events in this matter primarily

and substantially occurred in Illinois, this claim should be dismissed.

       In addition to falling short of these threshold requirements, Count III fails for the

additional reason that Plaintiff does not plead the required elements. To establish an ICFA

claim, 815 ILCS 505/1 et seq., Plaintiff must allege: (1) the defendant committed a deceptive

or unfair act or practice; (2) the defendant intended for the plaintiff to rely on the deception;




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(3) the deception happened in the course of trade or commerce; and (4) the deception

proximately caused the plaintiff’s injury. Here, outside of a few conclusory statements,

Plaintiff does not plead facts supportive of these elements.

       As to Plaintiff’s allegations of deceptive conduct (Compl. ¶ 75), “Rule 9(b) applies and

the plaintiff must plead with particularity the circumstances constituting fraud. Specifically,

the complaint must identify the ‘who, what, when, where, and how’ of the alleged fraud.”

Vanzant v. Hill's Pet Nutrition, Inc., 934 F.3d 730, 738 (7th Cir. 2019). Here, the Complaint

lacks any such allegations. The sole allegation of deception – BMO Harris’ supposed

representation that it was “processing SBA’s PPP loans in a lawful manner” (Compl. ¶ 75) –

is contradicted by Plaintiff’s admission that BMO Harris stated on its website (and continues

to so state as of the date of this filing) it “will not accept applications that are prepared by or

with assistance of agents.” Compl. ¶ 8 and n.2. Plaintiff’s Complaint utterly lacks any facts

alleging any statement made by BMO Harris to Plaintiff, that BMO Harris intended for the

Plaintiff to rely on the unspecified deceptive statement, that the deception happened in the

course of commerce, or that the deception proximately caused Plaintiff’s injury.

       Second, Plaintiff’s allegations of “unfair” conduct fare no better. To support an ICFA

claim based on unfair conduct, a plaintiff is required to demonstrate: “(1) whether the

practice offends public policy; (2) whether it is immoral, unethical, oppressive, or

unscrupulous; [and] (3) whether it causes substantial injury to consumers.” Benson v. Fannie

May Confections Brands, Inc., 944 F.3d 639, 647 (7th Cir. 2019). BMO Harris is effectively being

accused of failing to pay an alleged agent who did not comply with the SBA requirements to

receive payment, much less make a demand for payment. There is no identifiable Illinois




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public policy that conflicts with the SBA requirements, nor could it be unfair, immoral,

unethical, oppressive or unscrupulous for BMO Harris to comply with the governing law.

        3. PLAINTIFF’S UNJUST ENRICHMENT CLAIM (COUNT IV) FAILS BECAUSE IT RELIES ON
           THE SAME DEFECTIVE ALLEGATIONS, AND OTHERWISE FAILS TO PLEAD THE
           ELEMENTS OF A VALID CLAIM.
        Plaintiff’s unjust enrichment claim fails for two reasons. First, under Illinois law, “if

an unjust enrichment claim rests on the same improper conduct alleged in another claim,

then the unjust enrichment claim stands or falls with the related claim. Cleary v. Philip Morris

Inc., 656 F.3d 511, 517 (7th Cir. 2011) (applying Illinois law). Here, Plaintiff’s unjust

enrichment claim is dependent on its declaratory judgment (Count I) and ICFA (Count II)

allegations, which, as demonstrated above, both fail.

        Second, Plaintiff has not pled any of the elements of unjust enrichment. A claim for

unjust enrichment exists when: (1) a defendant receives a benefit; (2) to the plaintiff's

detriment; and (3) the defendant's retention of that benefit would be unjust. Allant Grp., Inc.

v. Ascendes Corp., 231 F. Supp. 2d 772, 774 (N.D. Ill. 2002). Plaintiff fails to satisfy any of these

elements because it has not established it is entitled to the alleged benefit BMO received. Am.

Hardware Mfrs. Ass'n v. Reed Elsevier, Inc., No. 03 C 9421, 2004 WL 3363844, at *17 (N.D. Ill.

Dec. 28, 2004) (dismissing unjust enrichment claim where plaintiff was not entitled to the

benefits received). Plaintiff’s entitlement to the benefits depends on its compliance with the

SBA regulations, as well as making a demand on BMO Harris, which it never alleges. See,

e.g., Bober v. Glaxo Wellcome PLC, 246 F.3d 934, 943 (7th Cir. 2001) (affirming dismissal of

unjust enrichment claim based on defendant’s alleged actions that were authorized by federal

law).




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       4. PLAINTIFF’S CONVERSION CLAIM (COUNT V) FAILS BECAUSE PLAINTIFF FAILS TO
          ALLEGE IT DEMANDED PAYMENT OR THAT IT FOLLOWED SBA REGULATIONS
       Plaintiff does not (and cannot) plead the requisite elements for its Conversion claim,

i.e., that: (1) it has a right to the property at issue; (2) it has an absolute and unconditional

right to the immediate possession of the property; (3) it made a demand for possession; and

(4) the defendant wrongfully and without authorization assumed control, dominion, or

ownership over the property. Stevens v. Interactive Fin. Advisors, Inc., 830 F.3d 735, 738 (7th

Cir. 2016). First and most obvious, Plaintiff’s claim fails because it does not plead that it

made a demand for possession. Am. Inter-Fid. Corp. v. M.L. Sullivan Ins. Agency, Inc., 2016 WL

3940092, at *7 (N.D. Ill. July 21, 2016) (“Failure to allege facts to satisfy the demand element is

reason enough to dismiss Plaintiff’s conversion claim.”). As for the remaining elements,

Plaintiff’s failure to comply with the SBA regulations dooms its claim. Because Plaintiff did

not comply with the SBA’s regulations, Plaintiff does not have an unconditional and

immediate right to payment of the agent fee. Finally, as the CARES Act sets only a cap on

agent fees, but no floor, there is no “definite” amount to be awarded via a conversion claim.

See, e.g., Song v. PIL, L.L.C., 640 F. Supp. 2d 1011, 1017 (N.D. Ill. 2009) (dismissing conversion

claim with prejudice where plaintiff “merely claim[ed] a right to an indeterminate sum of

[money]”)

C. THE PLAINTIFF CANNOT STATE A CLAIM AGAINST BMO FINANCIAL CORP
       For some unexplained reason, Plaintiff names the holding company of BMO Harris,

BMO Financial Corp., but fails to assert any facts directed against BMO Financial Corp.

While Plaintiff alleges generally that “Defendants” made PPP loans but refused to pay agent

fees to Plaintiff, the Complaint does not allege that BMO Financial Corp. made any PPP




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loans, much less the one to the Plaintiff’s alleged client. Nor could Plaintiff, as BMO Financial

Corp. did not make or fund PPP loans, and does not appear on the SBA’s list of eligible PPP

lenders. 2

          Accordingly, Plaintiff’s allegations do not apply to BMO Financial Corp., and the

claims against it should be dismissed.

                                     IV.    CONCLUSION
           Not only does Plaintiff fail to allege the necessary elements for each of its claims, but

    Plaintiff’s claims are unripe. Until Plaintiff complies with the SBA’s requirements for agents

    and submits a demand for payment to BMO Harris, Plaintiff lacks Article III standing to

    pursue the claims asserted in the Complaint. For these reasons, Plaintiff’s claims should be

    dismissed with prejudice.



                                                Respectfully submitted,
                                                /s/Jeffrey E. Jamison
                                                Jeffrey E. Jamison
                                                Julie Rodriguez Aldort
                                                BMO Harris Bank N.A.
                                                111 West Monroe
                                                Chicago, IL 60606
                                                Tel. (312) 461-4694
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2See SBA, Lenders Participating in PPP by State (June 25, 2020), at
https://www.sba.gov/sites/default/files/2020-06/PPP_Lender_List_ 200625.pdf ODVWYLVLWHG$XJXVW 




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        EXHIBIT A
           Case: 1:20-cv-03256 Document #: 27 Filed: 08/14/20 Page 18 of 34 PageID #:125
                                    Fee Disclosure and Compensation Agreement                OMB Control No. 3245-0201
                                           For use with 7(a) and 504 Loan Programs            Expiration Date: 08/31/2021

Purpose of this form: The purpose of this form is to identify Agents and the fees and/or compensation paid to Agents by
or on behalf of a small business applicant (“Applicant”) for the purpose of obtaining or expediting an application for a
loan guaranteed by the U.S. Small Business Administration (SBA). This is a statutory requirement under 15 U.S.C. 642.
See 13 CFR Parts 103 and 120 and SBA’s Standard Operating Procedure 50 10 for the rules governing compensation of
Agents or SBA Lenders in connection with an SBA loan.
Who must complete this form?: This form must be completed and signed by the SBA Lender and the Applicant whenever
an Agent is paid by either the Applicant or the SBA Lender in connection with the SBA loan application. Each Agent paid
by the Applicant to assist it in connection with its application must also complete and sign the form. When an Agent is
paid by the SBA Lender, the SBA Lender must complete this form and the SBA Lender and Applicant must both sign the
form. The SBA Lender must inform the Applicant in writing that the Applicant is not required to employ an Agent or
representative (including the SBA Lender) to assist the Applicant with the SBA loan application.
Compensation must be disclosed on this form for the following services:
    1. Loan packaging services, as defined in SOP 50 10, performed by an SBA Lender or other third party (This
        includes services performed by an individual/entity that is a Lender Service Provider (LSP) (7(a) only) or has an
        SBA-approved Professional Services Contract (504 only) with the SBA Lender who is acting as a loan packager
        or referral agent employed by the Applicant);
    2. Financial statement preparation specifically for the loan application; and/or
    3. Consulting, Broker, or Referral services paid by the Applicant, SBA Lender, or Third Party Lender (504 only).
Fees paid to the following individuals for their services in connection with the SBA loan application are not required to be
disclosed on this form:
    1. Applicant’s accountant performing services in the normal course of business;
    2. Any attorney in connection with the 7(a) or 504 loan closing;
    3. A state-certified or state-licensed appraiser employed by the SBA Lender to appraise collateral;
    4. An LSP performing services for the Lender under an SBA-reviewed LSP agreement (7(a) only) or an individual
       performing services for the CDC under an SBA-approved professional services contract (504 only);
    5. An individual employed by the SBA Lender to perform a business valuation in connection with the SBA loan;
    6. An environmental professional employed by the SBA Lender to conduct an environmental assessment of the
       collateral; and/or
    7. A real estate agent who is receiving a commission for the sale of real estate.

Instructions for completing this form: The Agent must be identified, all services provided must be listed, and the party
paying the fee and amount paid must also be disclosed (and itemized, when required). The SBA Lender must ensure that
the Agent performing services is not debarred, suspended, proposed for debarment, declared ineligible, or voluntarily
excluded from participation in this transaction by any Federal department or Agency. (See www.sam.gov.) The SBA does
not allow contingency fees (fees paid only if the loan is approved) or charges for services which are not reasonably
necessary in connection with an application. A separate form is required for each Agent (including an SBA Lender when
the SBA Lender performs packaging services) that has or will receive compensation as part of the transaction. However,
all of the services provided by the same Agent may be listed on a single form.
If the compensation paid exceeds $2,500, the Agent must provide supporting documents that include: 1) a detailed
explanation of the work performed; and 2) the hourly rate(s) and the number of hours spent working on each activity. The
SBA Lender must ensure that the supporting documents are attached to this form. When a single provider charges an
Applicant in connection with multiple applications, fees are aggregated to establish the $2,500 threshold for requiring
supporting documents and a detailed explanation. Supporting documents and a detailed explanation are required even if
the compensation is charged on a percentage basis.
All SBA Lenders must retain the original Form 159 in the loan file. 7(a) Lenders must submit a copy of each completed
Form 159 to Fiscal Transfer Agent only once after there has been an initial disbursement on the loan in conjunction with
its monthly 1502 report. CDCs must submit a copy of each completed Form 159 to SBA in its Annual Report for all of the
504 loans closed during the fiscal year being reported.

SBA Form 159 (04-18) Previous Editions Obsolete                                                 Page 1 of 3
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                                          Fee Disclosure and Compensation Agreement                            OMB Control No.: 3245-0201
                                               For use with 7(a) and 504 Loan Programs                          Expiration Date: 08/31/2021
 7(a) loan        504 loan
SBA Loan Name: ____________________________________________________________________________________________
SBA Loan Number (no spaces): ______________________                       SBA Lender FIRS (no spaces): _______________________
SBA Lender Legal Name: _____________________________________________________________________________________
Services Performed by (Name of Agent): ________________________________________________________________________
Agent Contact Person: ________________________________________________________________________________________
Agent Address: ______________________________________________________________________________________________
Type of Agent:
 SBA Lender                                      Consultant                                       Third Party Lender (“TPL”)
 Independent Loan Packager                       Accountant preparing financial                   Other: _______________________
                                                 statements specifically for SBA loan
 Referral Agent/Broker
                                                 application
                       Type of Service                          Amount Paid by Applicant*           Amount Paid by SBA Lender*
    Loan packaging
    Financial statement preparation for loan application
    Broker or Referral services
    Consultant services
    Other: ____________________________________

*The Agent may not be compensated by both Applicant and SBA Lender for the same service. Furthermore, any Agent
employed by the SBA Lender must be paid by the SBA Lender and those fees cannot be passed on to the Applicant.
Total compensation paid by:                      Applicant: $__________________                  SBA Lender: $________________
 Itemization and supporting documentation is attached. (Itemization and supporting documentation is required if the compensation
  paid exceeds $2,500. Itemization must include: 1) a detailed explanation of the work performed; and 2) the hourly rate and the
  number of hours spent working on each activity.) Note: SBA, in its discretion, may request an itemization and supporting
  documentation for any fee charged in connection with an SBA loan application, regardless of the amount.
For 504 loans only:
 CDC received referral fee from a TPL                                    Amount of Fee: $__________________________________
TPL Name: ________________________________________________________________________________________________
TPL Address: ______________________________________________________________________________________________
WARNING: False certifications can result in criminal prosecution under 18 U.S.C. § 1001 and other penalties provided under law.
Violation of any of the SBA Loan Program Requirements regarding SBA Form 159 and the related activities by the SBA Lender and/or an
Agent may result in SBA’s suspension or revocation of the privilege of conducting business with the SBA under 13 CFR Part 103.
Applicant’s Certifications: By signing this form, the Applicant certifies to SBA that the above representations and amounts are the
only amounts paid (or that will be paid) by the Applicant in connection with the stated services and are satisfactory to the Applicant.
The Applicant further certifies that a separate compensation agreement (SBA Form 159) has been executed for all Agents, as defined
in 13 CFR § 103.1. If the certification is made by a legal entity (e.g. corporation, limited liability company), execution of the
certification must be in the legal entity’s name by a duly authorized officer or other entity representative; if by a partnership, execution
of the certification must be in the partnership’s name by a general partner.
                   Applicant must not sign this form until all required services and fee information is disclosed.


 _________________________________________________                         _____________________
 Signature of Authorized Representative of Applicant                       Date

 _________________________________________________                         ________________________________________________
 Print Name                                                                Title

         SBA Form 159 (04-18) Previous Editions Obsolete                                                             Page 2 of 3
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                                        Fee Disclosure and Compensation Agreement                       OMB Control No. 3245-0201
                                               For use with 7(a) and 504 Loan Programs                   Expiration Date: 08/31/2021
Agent’s Certifications: By signing this form, the undersigned Agent certifies that: (1) it has not and will not directly or indirectly
charge or receive any payment from the Applicant in connection with the application for or making of the SBA loan except for
services actually performed on the Applicant’s behalf and identified in this form; (2) the information provided in this form accurately
describes the types of services (s)he/it has provided to the Applicant or SBA Lender and the compensation described in this form is
the only compensation that has been charged to or received from the Applicant or SBA Lender or that will be charged to the
aforementioned parties for services covered by this form; (3) neither it nor any of the employees of its organization are currently
debarred, suspended, proposed for debarment, declared ineligible or voluntarily excluded from participation in this transaction by any
Federal department or Agency; and (4) if SBA deems any portion or all of the fees charged in connection with the application for or
making of the loan to be unreasonable or prohibited, the Agent agrees to refund that amount to the Applicant. If the certification is
made by a legal entity (e.g. corporation, limited liability company), execution of the certification must be in the legal entity’s name by
a duly authorized officer or other entity representative; if by a partnership, execution of the certification must be in the
partnership’s name by a general partner.

 _________________________________________________                        _____________________
 Signature of Authorized Representative of Agent                          Date

 _________________________________________________                        ________________________________________________
 Print Name                                                               Title

SBA Lender’s Certifications: The undersigned SBA Lender certifies that: (1) the representations of services rendered and the
amounts charged as identified in this form are reasonable and satisfactory to it; (2) (s)he has no knowledge that any Agent, as defined
in 13 CFR § 103.1, was engaged by, represented, or worked on behalf of the Applicant other than as disclosed above or in another
executed compensation agreement (SBA Form 159); (3) any referral fees described above are the only referral fees paid by the SBA
Lender to a referral agent in connection with this loan and were not charged directly or indirectly to the Applicant; (4) if SBA deems
any portion or all of the fees charged in connection with the application for or making of the loan to be unreasonable or prohibited, the
SBA Lender agrees to refund that amount to the Applicant; (5) it has consulted the System for Awards Management’s (SAM)
Excluded Parties List System or any successor system to ensure that the Agent identified above is not debarred, suspended, proposed
for debarment, declared ineligible or voluntarily excluded from participation in this transaction by any Federal department or Agency;
and (6) any fee it has charged is not a standardized amount and all fees charged to the Applicant comply with SBA Loan Program
Requirements.

 _________________________________________________                       _____________________
 Signature of Authorized Representative of SBA Lender                    Date

 _________________________________________________                       _________________________________________________
 Print Name                                                              Title

Systems of Record Notification: Information obtained from this form is part of the Agency’s Privacy Act Systems of Records, Loan
Systems (“SOR 21”) and may become part of SBA’s System of Records for Suspension and Debarment Files (“SOR 36”). As such,
this form and the information contained therein may be used, disclosed, or referred for the following purposes, among other things:
  • To the Federal, State, local or foreign agency or professional organization which investigates, prosecutes, or enforces violations
        of statutes, rules, regulations, or orders, or which undertakes procurement of goods or services, when SBA determines that
        disclosure will promote programmatic integrity or protect the public interest.
  • To SBA employees, contractors, interns, volunteers, and other regulators or legal authorities for the review of Loan Agent fees
        and activities and for the review of loans generated by Loan Agents (e.g. for performance and other trends).
  • To GSA and the public for publication of Loan Agent suspensions, revocations, debarments, other enforcement actions, and
        exclusions in the System Award’s Management’s (SAM) Excluded Parties List System (“EPLS”) or any successor system
        consistent with Executive Order 12549 and other applicable law.
  • To other regulators, SBA employees, contractors, interns, and/or volunteers for regulatory purposes.
  • See 77 FR 61467 (October 9, 2012), 77 FR 15835 (March 16, 2012), 74 FR 14890 (April 1, 2009), and as amended from time-
        to-time for additional routine uses.

PLEASE NOTE: The estimated burden for completion of this form is 5 minutes per response. You are not required to respond to this
information collection unless it displays a currently valid OMB approval number. Comments/questions on the burden estimate should
be sent to U.S. SBA, Chief, Administration Information Branch, Washington, D.C. 201416, and Desk Officer for SBA, OMB, New
Exec. Office Building, Room 10202, Washington, D.C. 20503. PLEASE DO NOT SEND FORMS TO THESE ADDRESSES.

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         EXHIBIT B
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                                                                              Special Report
                                                                                    April 22, 2020



                Center for Plain English Accounting
                                AICPA’s National A&A Resource Center



       Small Business Loans Under the Payroll Protection Program
                   Issues Related to CPA Involvement

By: Kristy Illuzzi and Jim Brackens

The CPEA has received several questions regarding CPAs assisting clients with
applications, including working as Agents under the definition of the CARES Act and the
Paycheck Protection Program (PPP), which provides forgivable loans to help small
businesses cover fees including payroll, mortgage expenses, rent, and utilities.

We know there is frustration around providing services to small business clients as they
apply for PPP loans being issued through the Small Business Administration (SBA). The
AICPA’s Private Companies Practice Section (PCPS) has been adding developments
daily to their webpages, but we wanted to cover some of the more commonly asked
questions and complexities that we have been hearing from members, including those
related to acting as agents and whether performing certain services in association with
these PPP loans would violate independence, create a conflict of interest, or result in
receipt of a contingent fee.

First Things First: See the Bigger Picture and Advise Clients

Before we begin with the common issues surrounding the PPP loans, we want to offer
this counsel to our members:

As clients deal with a cauldron of pandemic-imposed problems and uncertainties, and as
they attempt to navigate a sea of government relief programs, CPAs must act as a trusted
source of advice and guidance. Providing advice and guidance during challenging times
is nothing new for CPAs. Businesses and organizations have deep relationships with their
CPAs and normally look to them for assistance and reassurance. CPAs should step back
and consider the best course of action for each client. Not every relief program or every
course to maneuver through the arduous effects of the pandemic will fit every client. CPAs
should take a thoughtful approach in helping each client find the financial assistance, loan
and tax credit relief programs, and other solutions that make the most sense for each
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client’s unique circumstances. We encourage CPAs to provide these advisory services
which are deemed to be outside the scope of loan processing application assistance as
referred to within this report.

Acting as Agents and Agent Fees

One of the hottest topics related to these PPP loans is exactly what is intended by the
term “agent” as used on the loan application. According to a Q&A document issued by
the Treasury, an agent is an authorized representative and can be:

   x   An attorney
   x   An accountant
   x   A consultant
   x   Someone who prepares an applicant’s application for financial assistance and is
       employed and compensated by the applicant
   x   Someone who assists a lender with originating, disbursing, servicing, liquidating,
       or litigating SBA loans
   x   A loan broker
   x   Any other individual or entity representing an applicant by conducting business
       with the SBA

There has been a lot of confusion as to whether CPA firms can act as agents for attest
clients, and what acting as agents really entail. One of the key issues points to the fact
that the Treasury defines an agent as an “authorized representative,” which could imply
that an agent is taking on a level of management responsibility.

There has been much discussion about whether acting as an agent for purposes of PPP
loans was intended to meet a legal definition of agent (acting on behalf of another) or was
meant to be a broader definition that would scope in CPAs providing nonattest services
to clients. The AICPA ethics division has been carefully monitoring developments and
continues to answer questions, and the Professional Ethics Executive Committee (PEEC)
was recently asked to weigh in on the issue from an independence perspective.

As posted in an update on April 13, 2020, the AICPA made the following statement (in
part):

   “While the AICPA understands that a fee paid by a lender is referred to as an ‘agent
   fee’, we don’t believe this should be an impediment to allowing CPAs to fulfill the
   intent of the CARES Act. Rather, the AICPA’s Professional Ethics Executive
   Committee (PEEC) believes members may advise and assist their attest clients in
   understanding the information required to be submitted and in the determination
   of amounts to be included on the application, provided the member does not
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   prepare or sign the application form itself or perform other management
   responsibilities on behalf of the applicant.”

Practice Note: CPAs should note, that even though the Treasury has outlined guidelines
related to agency fees, there is a possibility that you will not be paid for your services,
even when noting you are an agent to the application. Every bank seems to understand
the rules regarding agents and fees a bit differently, and some are agreeing to pay CPAs
for assisting while others are not agreeing to pay CPAs for assisting. It is important to
discuss this issue with clients and the banks to ensure there is an understanding,
preferably in writing, as to how and when any fees will be paid.

It is our understanding that many firms do not intend to charge clients for the PPP
application process for several reasons:

   x   It is in the firm’s interest that clients weather the economic crisis caused by the
       pandemic. Helping clients get any assistance possible will strengthen long-term
       relationship with clients.
   x   The application itself is fairly straight forward and can be completed by the small
       business. The only challenge is determining the average monthly payroll cost.
   x   Average payroll costs can easily be derived by any third-party payroll provider, plus
       any benefits the small business pays that comes from the general ledger. Payroll
       companies are not charging customers for this work.
   x   The PPP asks for a self-certification from the business and not any type of
       certification from the CPA, as may be the case in other loan packages. CPAs
       should not be providing any certification, as it isn’t required according to the
       guidelines.

CPEA Observation: An additional complication is whether banks, in agreeing to pay
CPAs for services, infer that CPAs are taking on certain client representations that could
result in placing CPAs at risk. Some banks are agreeing to pay CPAs without requiring
them to sign as authorized representatives (i.e., agents under the Code of Federal
Regulations definition). However, it’s possible those banks may assume CPAs are taking
on certain client representations. The AICPA is working with the SBA, the American
Bankers Association, and other key stakeholders to clarify this issue. However, in the
interim, CPAs could be putting themselves at risk as some banks could make an
assumption that paying CPA firms agent fees means they are acting as “authorized
agents” or “authorized representatives” of attest clients. CPAs are encouraged to consult
with professional liability carriers or legal counsel to understand any legal implications.
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Contingent Fee Question Clarified

Some have asked whether fees set by Treasury to be paid to agents could be considered
contingency fees under ET section 302 of the AICPA’s Code of Professional Conduct. As
a refresher, paragraph .01 of ET section 302 indicates the following:

   “A contingent fee is a fee established for the performance of any service pursuant
   to an arrangement in which no fee will be charged unless a specified finding or
   result is attained, or in which the amount of the fee is otherwise dependent upon
   the finding or result of such service. Solely for purposes of this rule, fees are not
   regarded as being contingent if fixed by courts or other public authorities, or, in tax
   matters, if determined based on the results of judicial proceedings or the findings
   of governmental agencies.”

The AICPA made a statement on April 13, 2020, that they believe, considering substance
over form, the fee paid by lenders is not a contingent fee. The amount of the loan is an
objective mathematical calculation (based on payroll) with the amount of the fee set by
the CARES Act. In addition, it is Congress’ intent that all loans will be funded, so there is
no need for any advocacy by anyone assisting the attest client to convince the lender to
make the loan.

CPEA Observation: While the AICPA has indicated they do not believe the fee paid by
lenders would be considered a contingent fee, some state boards of accountancy could
believe otherwise. We encourage CPAs to check with state boards before agreeing to
accept agent fees to ensure there is agreement with the AICPA position.

Additional Independence Considerations

As noted earlier, CPAs may advise and assist attest clients in gathering information for
the attest clients to prepare and submit loan applications to lenders without impairing
independence. Additionally, if lenders pay CPAs “agent fees” for those services, CPAs
are not, simply by nature of receiving fees, agents – nor does receipt of these fees
constitute contingent fees.

PEEC believes that, simply advising or assisting attest clients in understanding the
information gathering and lending application process under the PPP, even if “agent fees”
are paid by lenders, would not constitute performing management responsibilities for
purposes of applying the AICPA Code of Professional Conduct if CPAs do not in fact
assume management responsibilities. In other words, assisting attest clients with COVID-
19 PPP loan applications is a nonattest service. If CPAs comply with the interpretations
of the Nonattest Services subtopic, independence will not be impaired.
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Special Considerations Related to Assisting Attest Clients

As noted earlier, for attest clients, we suggest not signing as authorized representatives
on PPP loan applications. Also, make no certifications as to the information the small
business is providing with the application (this is covered in more detail in the “Other
Requests of CPAs” section of this report). However, advising clients is totally appropriate,
and we encourage it.

For opportunities to receive “agent fees” from banks for performing nonattest services
related to client loan applications, we suggest considering contacting lenders before
embarking on engagements and getting a written agreement related to the fees. There
should be a conflict waiver in the agreement with the lender, just like there is in the loan
assistance engagement letter with the client. Disclose these arrangements with clients as
well.

The majority of the certifications and authorizations contained in the “Representations,
Authorizations and Certifications” section of the PPP loan application are management
responsibilities; the signature required on page 2 of the application should be made by
the company applying for the loan or its authorized representative.

As noted earlier, signing as a client’s authorized representative will impair independence
because ability to exercise authority on behalf of a client has been accepted. This is a
management responsibility.

Special Considerations Related to Nonattest Clients

For situations where CPAs choose to act as authorized representatives and receive agent
fees from banks for nonattest clients, we suggest considering the following:

   x   Contact lenders before embarking on engagements and get written agreements
       related to the fees. There should be a conflict waiver in the agreement with the
       lender, just like there is in the loan assistance engagement letter with the client.
       Disclose these arrangements with clients as well.
   x   Generally, firms do not sign client loan applications. In instances where firms sign
       these applications, hold harmless/indemnification agreements from the clients
       related to client-provided information should be obtained, and should indicate the
       firm is not making or joining the client in making any of the client’s certifications in
       the application. Many professional liability insurance carriers have examples of this
       language.
   x   Whether clients later may ask for attest services to be performed in conjunction
       with these PPP loans. See the practice note in the “Loan Reporting
       Considerations” section for additional information.
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Practice Note: Before signing PPP loan applications for nonattest clients, firms may want
to consult with professional liability carriers or legal counsel to understand any legal
implications there might be for signing these applications. Some professional liability
insurance carriers have even developed sample engagement letters related to these
services that include indemnification clauses.

CPA Firms Applying for PPP Loans

It should be noted that CPA firms may be eligible to apply for PPP loans if all of the SBA
requirements are met, whereby a CPA might be preparing and signing the loan
application on behalf of the firm. As long as the bank is not an attest client of the firm, this
would not result in an independence violation under the Code of Professional Conduct.

Other Requests of CPAs

A small number of banks are requesting some form of third-party verification related to
the PPP loan applications when CPAs are involved. In circumstances where PPP lenders
request this type of service of CPAs, reference should be made to the AICPA’s Third-
Party Verification Toolkit for CPAs.

Loan Forgiveness Considerations

Additional guidance is expected to be provided by Treasury to correctly determine the
information required to substantiate that funds dispersed under these PPP loans were
used in accordance with the SBA guidelines.

It is possible that entities will engage CPA firms to assist on the back end with the
application for loan forgiveness as well, especially in cases where the CPAs assisted in
some way with the initial application.

It could be that clients simply would engage CPAs to perform nonattest services, similar
to how many of the loan applications are being done. However, when nonattest services
are performed for attest clients (for example, an audit client), CPAs would need to follow
Section 1.295, of the AICPA Code of Professional Conduct to not impair independence
for purposes of attest engagements. If CPAs are not engaged to perform nonattest
services, another option for service to attest clients would be to perform Agreed Upon
Procedures (AUP) engagements in accordance with AT-C section 215.

For audits of financial statements for periods during which PPP loan transactions
occurred, it goes without saying that those transactions should be audited and the
auditor’s risk assessment may likely identify heightened fraud risk in this area.

Practice Note: One thing to consider when performing services in association with loan
applications is whether clients would expect any attest services on the back end when
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reporting to the bank. CPAs should be aware, if they choose to perform certain services
related to these loan applications that would impair independence, they would not be
permitted to perform any attest services on the back end with regard to reporting on how
the loan proceeds were spent and whether that spending was in accordance with the SBA
guidelines.

Conclusion and Additional Resources

The CPEA will continue to monitor issues and questions related to the A&A impacts of
COVID-19 and stand ready to issue additional guidance as new developments arise. The
AICPA also has a Coronavirus Resource Center to keep the profession up-to-date on
this issue, including information on business continuation, economic impact, workforce
issues and other resources to help members serve their clients. View a list of all available
resources.

As always, the CPEA technical inquiry service is available for all CPEA members to
answer inquiries on this topic as well as most other accounting and assurance topics. The
inquiry service can be accessed on our website. For non-CPEA members, call the AICPA
technical hotline at 1-888-777-7077. Questions related to auditor independence (which
certainly could arise in the current environment) should be directed to the AICPA Ethics
Hotline at 1-888-777-7077 (select option 2, then 3) or ethics@aicpa.org. CPEA refers all
independence questions to the independence hotline.



            Center for Plain English Accounting │ aicpa.org/CPEA │ cpea@aicpa.org


 The CPEA provides non-authoritative guidance on accounting, auditing, attestation, and SSARS standards.
 Official AICPA positions are determined through certain specific committee procedures, due process and
 extensive deliberation. The views expressed by CPEA staff in this report are expressed for the purposes of
 providing member services and other purposes, but not for the purposes of providing accounting services or
 practicing public accounting. The CPEA makes no warranties or representations concerning the accuracy of
 any reports issued.

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 cpea@aicpa.org with your request. Otherwise, requests should be written and mailed to the Center for Plain
 English Accounting, AICPA, 220 Leigh Farm Road, Durham, NC 27707-8110.
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        EXHIBIT C
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                                                               OMB Control Number: 3245-0407
                                                                    Expiration Date: 9/30/2020

                        CARES Act Section 1102 Lender Agreement

________________________________________ (“Lender”) hereby agrees as a condition and in
consideration of authorization by the United States Small Business Administration (“SBA”) and
the Department of Treasury for Lender to make Paycheck Protection Program SBA-guaranteed
financing available as part of the Coronavirus Aid, Relief, and Economic Securities Act
(“CARES Act”) (P.L. 116-136) to eligible recipients, as follows (the “Agreement”):

1. Lender Eligibility Requirements.

Federally insured depository institutions, federally insured credit unions, and Farm Credit
System institutions (other than the Federal Agricultural Mortgage Corporation) are eligible to
participate in the Paycheck Protection Program unless they currently are designated in Troubled
Condition by their primary federal regulator or are subject to a formal enforcement action by
their primary federal regulator that addresses unsafe or unsound lending practices.

Lender attests that it is:
                                                                                Initial below
 A federally insured depository institution; OR
 A federally insured credit union; OR
 A Farm Credit System institution (other than the Federal Agricultural
 Mortgage Corporation) that applies the requirements under the Bank
 Secrecy Act and its implementing regulations as a federally regulated
 financial institution, or functionally equivalent requirements.

Lender attests that it is NOT:
                                                                                Initial below
 Designated in Troubled Condition by its primary federal regulator
 Subject to a formal enforcement action by its primary federal regulator
 that addresses unsafe or unsound lending practices

Lender Information:
 Institution Name:
 Headquarters (City, State):
 Primary Federal Regulator (check one):                                       FRB
                                                                             FDIC
                                                                              OCC
                                                                             NCUA
                                                                              FCA
 Lender Identifier (provide any that apply)
                                                      RSSD ID:
                                                      FDIC Certificate ID:
                                                      OCC Charter No.:
                                                      NCUA Charter No.:
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2. Application for Guaranty. This Agreement governs only “covered loans,” duly approved
under delegated authority hereafter for guaranty by SBA, that are subject to the Paycheck
Protection Program under the CARES Act, section 7(a)(36) of the Small Business Act, any rules
or guidance that has been issued by SBA implementing the Paycheck Protection Program, or any
other applicable Loan Program Requirements, as defined in 13 CFR § 120.10, as amended from
time to time (collectively “PPP Loan Program Requirements”).

3. Approval of Guaranty. Lender will process and approve covered loans under delegated
authority from SBA. Lender assumes all obligations, responsibilities, and requirements
associated with delegated processing of covered loans made under the Paycheck Protection
Program. Any change in the terms or conditions stated in the loan authorization shall be made in
accordance with PPP Loan Program Requirements. For purposes of making covered loans to an
eligible recipient under the Paycheck Protection Program, Lender is responsible, to the extent set
forth in the PPP Loan Program Requirements, for all decisions concerning the eligibility
(including size) of a borrower for a covered loan. Lender may issue a covered loan approved
under PPP procedures without prior SBA review and approval of the processing and
underwriting of the loan by executing a PPP Authorization.

4. Closing and Disbursement of Covered Loans. Lender must close and disburse each covered
loan in accordance with the terms and conditions of the PPP Authorization and PPP Loan
Program Requirements. Lender must ensure that a note and all other Loan Documents (as
defined in this paragraph) and additional documents are properly executed and take such other
actions necessary to fulfill the requirements of the Paycheck Protection Program. SBA is
entitled, at any time, to examine and obtain copies of all notes, certifications and documentation
(herein, collectively, called “Loan Documents”), and all other records held by Lender which
relate to covered loans made pursuant to the Paycheck Protection Program.

5. Administration of Covered Loans. Lender will hold the Loan Documents and receive all
payments of principal and interest unless Lender is required to transfer or assign the note to SBA
or a third party at SBA’s direction. Lender must service and liquidate all covered loans made
under the Paycheck Protection Program in accordance with PPP Loan Program Requirements.
Except when SBA directs otherwise, all servicing actions will be the responsibility of Lender,
which must follow accepted standards of loan servicing employed by prudent lenders.

6. Purchase by SBA. By making any written demand that SBA purchase the guaranteed portion
of a loan, Lender will be deemed thereby to certify that the covered loan has been made, closed,
serviced, and liquidated in compliance with the Paycheck Protection Program and PPP Loan
Program Requirements. This Agreement will remain in full force and effect with respect to the
covered loan after any purchase.

7. Prohibited Fees. Other than a fixed interest rate of 1.0% on the covered loan, Lender is not
permitted to charge or receive any bonus, fee, prepayment penalty, commission or other payment
or benefit from a borrower in connection with the making or servicing of any covered loan under
the Paycheck Protection Program.

8. Termination.

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A. A Lender’s authority to make a covered loan under this Agreement will terminate on July 1,
   2020. Either party may also terminate this Agreement upon not less than 10 days written
   notice by certified mail to the other party. Termination will not affect the guaranty of any
   covered loan previously authorized by SBA under the Paycheck Protection Program. It is
   understood and agreed that Lender shall continue to comply with the Paycheck Protection
   Program and PPP Loan Program Requirements with respect to any covered loan previously
   authorized by SBA, including but not limited to the servicing and liquidation of such covered
   loans. Termination by either party will not affect in any way Lender’s continuing obligation
   to comply with this Agreement, the Paycheck Protection Program, and all PPP Loan Program
   Requirements with respect to any covered loan previously authorized by SBA under this
   Agreement. If this Agreement is terminated by either Lender or SBA, Lender hereby agrees
   that SBA may in its sole discretion transfer some or all of the covered loans and/or the
   servicing and liquidation of such covered loans and related fees or income to SBA or another
   entity approved by SBA. If SBA requires the transfer of Lender’s covered loans, Lender
   must cooperate with SBA to transfer responsibility for servicing and liquidating of such
   covered loans.

B. The guaranty of any covered loan will be automatically terminated if Lender does not submit
   to SBA a demand to purchase the guaranty or a request to extend the maturity within one
   year after the maturity of the note.

9. Assignment. Lender may only assign or transfer its rights and obligations under this
   Agreement with SBA’s prior written consent, which SBA may withhold in its sole discretion.

10. Interpretation of this Agreement.
A. This Agreement is subject to 7(a)(36) of the Small Business Act, including the Paycheck
   Protection Program and PPP Loan Program Requirements and will be interpreted and
   construed subject to, and to give full effect to, the broad scope of SBA’s power and authority
    under the Small Business Act and those requirements. Lender consents and agrees to all
    rights and remedies available to SBA under the Small Business Act, the Paycheck Protection
    Program and PPP Loan Program Requirements, as each of those are amended from time to
    time, and any other applicable law.

B. To the best of its knowledge, Lender certifies that it is in compliance and will maintain
   compliance with all applicable requirements of the Paycheck Protection Program, and PPP
   Loan Program Requirements.

C. Lender understands that SBA’s rights and powers under the Small Business Act, the
   Paycheck Protection Program and PPP Loan Program Requirements are in addition to, and
   exist independent of, this Agreement, and that nothing in this Agreement may be asserted
   against SBA under any circumstances to delay or prevent SBA’s full exercise of its rights
   under applicable law.

D. Lender agrees to hold SBA harmless for any action taken by SBA in enforcing this
   Agreement, the Small Business Act, the Paycheck Protection Program and PPP Loan
   Program Requirements against Lender for any covered loan made under this Agreement.


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E. Lender agrees that any modification to this Agreement to be asserted against SBA or any
   exemption to be claimed from any provision of the Small Business Act, the Paycheck
   Protection Program, or PPP Loan Program Requirements is invalid, null, and void unless it is
   made in writing by an official of SBA authorized to grant such modification or exemption
   and was made after full disclosure to SBA of all material facts and circumstances.

F. This Agreement is to be interpreted under and construed in accordance with federal law.

G. This Agreement will inure to the benefit of, and be binding upon, the Lender’s authorized
   successors and assigns.

By signing below, I hereby certify that I have the authority to execute this Agreement for the
Lender on whose behalf I am signing, and that all representations made are true and correct to
the best of my knowledge. I further acknowledge that on behalf of the Lender I have also
submitted an Incumbency Certificate attached hereto. I further acknowledge that any false
statements made to the U.S. Small Business Administration and Department of the Treasury can
result in criminal prosecution under 18 U.S.C. 1001, 15 U.S.C. 645, and other provisions and
imposition of civil money penalties under 31 U.S.C. 3729.

IN WITNESS WHEREOF, the undersigned has duly executed this Agreement.

______________________________________
Name of Lender

______________________________________                     ______________________
Signature                                                  Date

______________________________________
Name and Title


ATTEST/WITNESS

I, _________________________________, hereby represent and warrant that I am a duly
elected or appointed Secretary or Officer of __________________________________ (the
“Lender”) and that ____________________________________________ is duly authorized and
has the legal capacity to execute this Agreement on behalf of the Lender.

                              Signature:    ______________________________________

                        Name and Title:     ______________________________________

Attachment: Incumbency Certificate




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                                  CERTIFICATE OF SERVICE

      The undersigned attorney hereby certifies that the aforementioned document was

filed through the Court’s CM/ECF system on August 14, 2020. Parties of record may obtain a

copy through the Court’s CM/ECF system. The undersigned certifies that no party of record

requires service of documents through any means other than the CM/ECF system.

                                                       /s/ Jeffrey E. Jamison
